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                             UNITED STATES DISTRICT COURT

                             MIDDLE DISTRICT OF LOUISIANA

MARY JOY LACAZE              *   CIVIL ACTION NO.
                             *
                             *
VERSUS                       *   JUDGE
                             *
WALMART STORES, INC. AND     *   MAGISTRATE JUDGE
WALMART LOUISIANA, LLC       *
                             *
                             *
                             *
** **********************************************

                                     NOTICE OF REMOVAL

TO:    The Honorable Judges
       of the United States District Court
       for the Middle District of Louisiana

       PLEASE TAKE NOTICE that defendants, WAL-MART LOUISIANA, LLC (incorrectly

referred to as Walmart Louisiana, LLC) and WALMART STORES, INC., (collectively

“Walmart”), without waiving, and specifically reserving all rights, defenses, objections, and

exceptions, hereby removes the case captioned, “Mary Joy LaCaze versus Walmart Stores, Inc.

and Walmart Louisiana, LLC,” Civil Docket No. 699335 from the 19th Judicial District Court for

the Parish of East Baton Rouge, State of Louisiana, to the docket of this Honorable Court on the

grounds set forth below:

                                                  1.

       This civil action is a matter over which this Court has original jurisdiction by virtue of 28

U.S.C. § 1332 and is one which may be removed to this Court by Defendant under the provisions

of 28 U.S.C. § 1441(b), in that it is a civil action among diverse parties who are citizens of different

states and foreign countries, and Plaintiff’s claims involve an amount in controversy that exceeds
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$75,000, exclusive of costs and interests.

                                                2.

        Plaintiff, Mary Joy LaCaze, commenced the action by filing a Petition for Damages (see

Exhibit “A”) on September 4, 2020, against Walmart Stores, Inc. and Walmart Louisiana, LLC in

the 19th Judicial District Court for the Parish of East Baton Rouge, State of Louisiana.

                                                3.

        Walmart was served through its agent for service of process, CT Corporation, on

September 18, 2020, with Plaintiff’s Petition for Damages (see CT Corporation Service of Process

Transmittal Notice attached hereto as Exhibit “B”).

                                                4.

        The suit seeks damages from Walmart for personal injuries and damages allegedly

sustained by the Plaintiff due to an accident that occurred on February 24, 2020.

   I.        REMOVAL IS PROPER BECAUSE THIS COURT HAS SUBJECT MATTER
             JURISDICTION PURSUANT TO 28 U.S.C. § 1332.

                                                5.

        28 U.S.C. § 1332 provides federal district courts with concurrent original jurisdiction in

cases “where the matter in controversy exceeds the sum or value of $75,000, exclusive of interest

and costs, and is between citizens of different States” and “citizens of a State and citizens or

subjects of a foreign state.”

        A.     THE AMOUNT IN CONTROVERSY EXCEEDS $75,000.00

                                                6.

        The Fifth Circuit has explained that for purposes of establishing removal jurisdiction, a

defendant may demonstrate that the amount in controversy exceeds $75,000.00, “in either of two

ways: (1) by demonstrating that it is ‘facially apparent’ from the petition that the claim likely

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exceeds $75,000.00 or (2) ‘by setting forth the facts in controversy-preferably in the removal

petition, but sometimes by affidavit-that support a finding of the requisite amount.’” Grant v.

Chevron Phillips Chemical Co., 309 F.3d 864, 868 (5th Cir. 2002) (emphasis in original) (quoting

Allen v. R & H Oil & Gas Co., 63 F.3d 1326, 1335 (5th Cir.1995)).

                                                       7.

        Plaintiff’s pleadings are silent as to the amount of damages that Plaintiff seeks. However,

Plaintiff’s Petition for Damages alleges that Plaintiff, Mary Joy LaCaze, was injured as a result of

a fall that occurred on February 24, 2020. Further, Plaintiff alleges that, as a result of the accident,

she sustained “serious and permanent injuries,” including severe head trauma, back pain, anxiety,

distress, depression, and mental anguish. Plaintiff, Mary Joe LaCaze, also alleges she has sustained

the following damages: past, present, and future medical expenses; diminished enjoyment of life;

lost earnings and/or loss of earning capacity; and loss of consortium.

                                                       8.

        Based on medical records provided by Plaintiff’s counsel before filing this lawsuit,

Plaintiff has treated for neck pain, back pain, shoulder pain, and headaches as a result of the

February 24, 2020 accident.1 Plaintiff was diagnosed with cervical disc herniations at C5-6 and

C6-7 and underwent two rounds of epidural steroid injections at C6-7.2 Plaintiff’s treating

physicians, Dr. Thomas Myers and Dr. Shay Corbin, estimate that Plaintiff will require future

medical treatment totaling $93,922.50.3




1
  Exhibit C, August 4, 2020 Progress Report from Medical Spine Spine and Sports Injury and Rehab Centers.
2
  Id.
3
  Id.

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                                                         9.

         Plaintiff’s alleged herniated discs and treatment with epidural steroid injections alone place

the amount in controversy at over $75,000, particularly where additional items of special damages

are claimed, including past and future lost wages and future medical expenses of at least

$93,922.50. General damages in cases involving spinal disc issues with associated treatment with

epidural steroid injections regularly exceed the jurisdictional limit.4 Additionally, plaintiff is

alleging a left shoulder injury and underwent an MRI, along with a head injury for which she is

treating with a neurologist. One of her doctors has opined that there is a 21% whole person

permanent impairment.

                                                        10.

         Plaintiff’s Petition for Damages does not offer a binding stipulation that Plaintiff will not

seek to enforce any judgment that may be awarded in excess of $75,000.00, as would be required

pursuant to De Aguilar v. Boeing Co., 47 F.3d 1404, 1412 (5th Cir.1995). See Also Cosey v. Wal-

Mart Louisiana, LLC, No. CV 19-554-SDD-EWD, 2019 WL 4039620, at *2 (M.D. La. Aug. 27,

2019).




4
  See Martin v. ERMC, II, 2009-491 (La. App. 3 Cir. 2009); 23 So. 3d 1008 ($103,000 for cervical and lumbar strain
with possible spinal pathology and greatly reduced activity, treated with ESIs); Duchamp v. State Farm Mut. Auto.
Ins. Co., 2005-339 (La. App. 3 Cir. 2005); 916 So. 2d 498 ($135,000 for herniated discs causing pain over three years
and at time of trial with lifetime of conservative treatment and ESIs recommended; surgery not contemplated).

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                                              11.

       While Walmart admits no liability, nor any element of damages, Walmart has met its

burden of showing that the amount in controversy is in excess of SEVENTY-FIVE THOUSAND

AND NO/100 ($75,000.00) DOLLARS, exclusive of interest and costs.


       B.     COMPLETE DIVERSITY

                                              12.

       Plaintiff, Mary Joy LaCaze, is domiciled in East Baton Rouge Parish, State of Louisiana

(see Petition for Damages attached as Exhibit “A”).

                                              13.

       Defendant, Walmart Stores Inc., is a Delaware corporation with its principal place of

business in Bentonville, Arkansas, which is a publicly held company.

                                              14.

       Defendant, Wal-Mart Louisiana, LLC, is a Delaware limited liability company with its

principal place of business in Bentonville, Arkansas, and its sole member or owner being Wal-

Mart Stores East, LP, a Delaware limited partnership with its principal place of business in

Bentonville, Arkansas, and which is composed of two partners, namely WSE Management, LLC

(GP) and WSE Investment, LLC (LP), both Delaware limited liability companies with their

principal place of business in Bentonville, Arkansas. The sole member of WSE Management, LLC

and WSE Investment, LLC is Wal-Mart Stores East, LP, an Arkansas limited partnership with its

principal place of business in Bentonville, Arkansas. The sole member of Wal-Mart Stores East,



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LP is its parent company Walmart Inc., a Delaware corporation with its principal place of business

in Bentonville, Arkansas, which is a publicly held company.

                                                 15.

         Therefore, there is complete diversity of citizenship between the Plaintiff and the

Defendants.

                                                 16.

         This is a civil action over which the United States District Court for the Middle District of

Louisiana has concurrent original jurisdiction under the provisions of 28 U.S.C. § 1332, et seq., as

the amount in controversy, evidenced by the Petitions for Damages and Plaintiff’s medical records,

exceeds SEVENTY-FIVE THOUSAND AND NO/100 ($75,000.00) DOLLARS, exclusive of

interest and costs, and complete diversity exists between all adverse parties.

   II.      WALMART HAS SATISFIED THE PROCEDURAL REQUIREMENTS FOR
            REMOVAL


                                                 17.

         Walmart was served through its agent for service of process, CT Corporation, on

September 18, 2020, with Plaintiff’s Petition for Damages (See Exhibit “B”).

                                                 18.

         This Notice of Removal is being filed within one year of the filing of the Petition for

Damages and within thirty (30) days after first receipt by Walmart of a copy of the initial pleading

setting forth the claim or relief upon which this action is based, and is therefore timely under 28

U.S.C. § 1446(b).




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                                                    19.

          Jurisdiction is founded on the existence of diversity jurisdiction under 28 U.S.C. § 1332,

which grants federal courts concurrent original jurisdiction over claims where the matter in

controversy exceeds the sum or value of SEVENTY-FIVE THOUSAND AND NO/100

($75,000.00) DOLLARS, exclusive of interest and costs, and is between citizens of different States

and citizens of a State and citizens or subjects of a foreign state.

                                                    20.

          The 19th Judicial District Court for the Parish of East Baton Rouge, State of Louisiana, is

located within the Middle District of Louisiana pursuant to 28 U.S.C. § 98(a). Therefore, venue

is proper in accordance with 28 U.S.C. § 1441(a) because it is the “district and division embracing

the place where such action is pending.”

                                                    21.

          No previous application has been made by Walmart in this case for the relief requested

herein.

                                                    22.

          Pursuant to 28 U.S.C. § 1446(a), Walmart has attached a copy of “all process, pleadings,

and orders served upon it” in this action. In particular, a copy of the Petition for Damages are

attached hereto as Exhibit “A.” Pursuant to 28 U.S.C. § 1446(d), a copy of this Notice of Removal

is being served upon counsel for Plaintiff, and a copy is being filed with the 19th Judicial District

Court for the Parish of East Baton Rouge, State of Louisiana.

                                                    23.

          Petitioner, Walmart, desires and is entitled to trial by jury of all issues herein.

          WHEREFORE,          defendants,    WALMART          STORES,       INC.    and    WAL-MART



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LOUISIANA, LLC, hereby remove this action from the 19th Judicial District Court for the Parish

of East Baton Rouge, State of Louisiana, to the docket of the United States District Court for the

Middle District of Louisiana.



                                             Respectfully submitted,

                                             /s/ Devin Fadaol
                                             DEVIN FADAOL (#26878)
                                             P. SINNOTT MARTIN (#37218)
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                                             E-Mail: cdf@mcsalaw.com
                                             ATTORNEYS FOR DEFENDANTS



                                CERTIFICATE OF SERVICE

       I hereby certify that a copy of the above and foregoing pleading has been served upon all

counsel of record in this proceeding     by e-mail,     by facsimile,     by hand, and/or       by

United States mail, properly addressed and postage prepaid, on this 16th day of October 2020.

                                             /s/ Devin Fadaol____________




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